Case 2:25-cr-00003-AWA-RJK Document 25 Filed 01/08/25 Page 1 of 4 PageID# 280
                                                                                               FILED
                                                                                          IN OPEN COIJPT



                                                                                          m - 8 2025
                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Norfolk Division
                                                                                     CLERK, U.S. DISTRICT COURT
                                                                                            NORFOLK, VA


  UNITED STATES OF AMERICA                     )
                                               )
                V.                             )        CRIMINAL NO. 2:25-cr-    3
                                               )
  BRAD KENNETH SPAFFORD,                       )        Possession of Unregistered
                                               )        Short Barrel Rifle
                                               )        26 U.S.C.§ 5861(d)
                Defendant.                     )        (Count I)
                                               )
                                               )        Possession of Unregistered
                                               )        Destructive Device
                                               )        26 U.S.C. § 5861(d)
                                               )        (Count 2)
                                               )
                                               )        Criminal Forfeiture
                                               )        18 U.S.C. § 924(d); 26 U.S.C. § 5872


                                           INDICTMENT


                             Januaiy 2025 Term      At Norfolk, Virginia

         THE GRAND JURY CHARGES THAT:


                                           COUNT ONE

                          (Possession of Unregistered Short Barrel Rille)

         On or about December 17,2024, in the Eastern District of Virginia, the defendant, BRAD

  KENNETH SPAFFORD, did knowingly possess a firearm that was required to have been

  registered in the National Firearms Registration and Transfer Record, to wit: a Palmetto State

  Armory PA-15 S/N SCD403476 short barrel rifle; and was not registered to the defendant in the

  National Firearms Registration and Transfer Record.

              (In violation of Title 26, United States Code, Sections 5841, 5861 (d), & 5871.)
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                                           COUNTTWO
                          (Possession of Unregistered Destructive Device)

         On or about December 17,2024, in the Eastern District of Virginia, the defendant, BRAD

  KENNETH SPAFFORD, did knowingly possess a firearm that was required to have been

  registered in the National Firearms Registration and Transfer Record, to wit: an improvised

  explosive device identified in FBI records as Device #4; and was not registered to the defendant

  in the National Firearms Registration and Transfer Record.

              (In violation ofTitle 26, United States Code, Sections 5841, 5861(d) & 5871.)




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                                            FORFEITURE


         THE GRAND JURY FURTHER FINDS PROBABLE CAUSE THAT:

          1.     BRAD KENNETH SPAFFORD, if convicted of either of the violations alleged in

  this Indictment, shall forfeit to the United States, as part of the sentencing pursuant to Federal

  Rule of Criminal Procedure 32.2, any firearm or ammunition used in or involved in the violation.

         2.      If any property that is subject to forfeiture above is not available, it is the intention

  of the United Stales to seek an order forfeiting substitute assets pursuant to Title 21, United

  States Code, Section 853(p) and Federal Rule of Criminal Procedure 32.2(e).



  (In accordance with Title 18, United States Code, Section 924(d); Title 26, United States Code,
  Section 5872; and Title 28, United States Code, Section 2461(c)).




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  United Stages v. Brad Kenneth Spqfford
 2:25-CR-0



                                               A TRUE BILL:

                                                        ,cUACTED COPY


                                               FOREPERSON




        JESSICA D. ABER
        UNITED STATES ATTORNEY



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